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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


EQUAL EMPLOYMENT OPPORTUNITY                    )
 COMMISSION,                                    )
    Plaintiff,                                  )
                                                )
CHARLES E. BROWN, JEFFREY BURKS,                )
ANTONIO COLON, JAMES DEMOSS, JAMESON            )
DIXON, CLARK FAULKNER, KENNETH GEORGE,          )
LEONARD GREGORY, MARSHUN HILL, MACK             )
LEONARD, CEDRIC MUSE, LAROY                     )
WASHINGTON, DARRELL WILLIAMS, CHARLES           )
WOODS and MICHAEL WOODS,                        )
        Intervening Plaintiffs,                 )
                                                )
        v.                                      )       Case No. 09 CV 7693
                                                )
YELLOW TRANSPORTATION, INC. and YRC, Inc.,      )       Magistrate Judge Cox
        Defendants.                             )
_______________________________________________ )
 CHARLES BROWN, JEFFERY BURKS,                  )
ANTONIO COLON, JAMES DEMOSS,                    )
JAMESON DIXON, CLARK FAULKNER,                  )
KENNETH GEORGE, LEONARD GREGORY,                )
MARSHUN HILL, CEDRIC MUSE,                      )
LAROY WASHINGTON, DARRELL WILLIAMS,             )       Case No. 08 CV 5908
CHARLES WOODS, MICHAEL WOODS, MACK              )
LEONARD, on behalf of themselves and similarly  )       Magistrate Judge Cox
situated African-American employees,            )
        Plaintiffs,                             )
                                                )
         v.                                     )
                                                )
YELLOW TRANSPORTATION, INC., and YRC, INC., )
        Defendants.                             )
_______________________________________________ )

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                                   NOTICE OF MOTION

       Plaintiffs hereby give notice that they will present Plaintiffs’ Joint Motion for Approval

of Allocation of Settlement Funds on Thursday, February 7, 2013 at 9:30 a.m. before the

Honorable Magistrate Judge Susan E. Cox, United States District Court for the Northern District

of Illinois, Room 1068, 219 S. Dearborn, Chicago, IL, 60604.


January 25, 2013                            Respectfully submitted,

                                            s/Richard J. Mrizek
                                            Richard J. Mrizek
                                            Ethan M. M. Cohen
                                            Trial Attorneys

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